UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

    In re:
                                                                         Case No.: 20-10322
    The Diocese of Buffalo, N.Y.,
                                                                         Chapter 11

                                                   Debtor,

             CERTIFICATE OF NO OBJECTION WITH RESPECT TO THE
      MONTHLY FEE STATEMENT OF BLANK ROME, LLP FOR COMPENSATION
          FOR SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES
       AS SPECIAL INSURANCE COUNSEL TO THE DIOCESE OF BUFFALO, N.Y.
         FOR THE PERIOD FEBRUARY 1, 2021 THROUGH FEBRUARY 28, 2021

             Pursuant to this Court’s Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Professionals and Members of Official Committees [Docket No.

362] (the “Interim Compensation Order”)1, the undersigned hereby certifies that on April 7, 2021,

Blank Rome, LLP (“Blank Rome”) filed its Monthly Fee Statement of Blank Rome, LLP for

Compensation for Services Rendered and Reimbursement of Expenses as Special Insurance

Counsel to The Diocese of Buffalo, N.Y. for the Period February 1, 2021 through February 28,

2021 [Docket No. 987] (the “Monthly Fee Statement”) and no objections to the Monthly Fee

Statement have been filed.

             Accordingly, pursuant to the Interim Compensation Order, The Diocese of Buffalo, N.Y.

is authorized to pay on an interim basis eighty percent (80%) of Blank Rome’s fees and one

hundred percent (100%) of Blank Rome’s expenses, as reflected in the Monthly Fee Statement.




1
 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Interim Compensation
Order.



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Dated: April 22, 2021, 2021
                                          BLANK ROME LLP


                                        By       /s/ James R. Murray
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                                          Special Insurance Counsel
                                          for The Diocese of Buffalo, N.Y.




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